                        Case
AO 106 (Rev 04/10) Apphcat10n for a2:19-mj-00347            Document
                                    Search Warrant (requestmg ACSA        1 Filed 03/07/19 Page 1 of 15


                                       UNITED STATES DISTRICT COURT
                                                                    for the
                                                      Eastern District of Pennsylvania

               In the Matter of the Search of                         )
         (Briefly describe the property to be searched
                                                                                             \j"' 3 ~i
                                                                      )
          or tdenttfy the person by name and address}                 )         Case ~o.
                  2469 N. Gamet Street, Phila, PA                     )
                                                                      )
                                                                      )

                                           APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and gtve its locatton;
 More particularly described in Attachment A attached hereto

located in the               Eastern             District of           Pennsylvania           , there is now concealed (zdentzfy the
person or descrtbe the property to be seized):
   More particularly described in Attachment B hereto


          The basis for the search under Fed. R. Crim. P. 4 l(c) is (check one or more):
                 if evidence of a crime;
                 ef contraband, fruits of crime, or other items illegally possessed;
                 ii property designed for use, intended for use, or used in committing a crime;
                 :"'J a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
            Code Section                                                          Offense Description
           21 C'SC 841, 843(b), 846                   Distribution/PWID Controlled Substance; Use of Comm. Facility in furtherance of
                                                      distribution of C/S; Conspiracy to Distribute C/S

          The application is based on these facts:
          See Attached Affidavit



         ./J   Continued on the attached sheet.
          :, Delayed notice of         days (give exact ending date if more than 30 days:                             ) is requested
             under 18 lJ.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                                         \




                                                                                             Applicant ·s stgnature




Sworn to before me and signed in my presence.




City and state: Phi!~~~lphia, PA
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                               AFflDAVIT

INTRODUCTION

        I.     Your Affiant is Special Agent Giovanna Boisvert. Your Affiant is a

Special Agent of the Drug Enforcement Administration ("DEA") and has served in that

capacity for approximately 9 years. Your Affiant is currently assigned to the

Philadelphia, PA Division Office.    As such, Your Affiant is an "investigator or law

enforcement officer" of the United States within the meaning of Title 18, United States

Code, Section 2510(7), that is, an officer of the United States who is empowered by law

to conduct investigations of and to make arrests for offenses enumerated in Title 18,

United States Code, Section 2516( 1).

EXPERIENCE

       2.      As a part of my official duties, your affiant investigates criminal violations

of the federal narcotics laws, including, but not limited to, Title 21, Cnited States Code,

Sections 84l(a)(l ), 843(b), 846, 848, 853, and 860.

       3.      Based on my training and experience, Your Affiant is familiar with the

ways in which drug dealers conduct their drug-related business, including, but not limited

to their (a) methods of distributing narcotics; (b) methods of distributing drug proceeds;

(c) use of telephone communication devices and digital display paging devices; (d) use of

numerical codes and code words to identify themselves, the nature of the communication

and to conduct their drug-related transactions; and (e) common practice of registering for

and obtaining these communication devices under false names, or names of relatives

and/or friends to avoid financial responsibilities and tracking of criminal activities by law

enforcement entities.
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       4.      While working with the DEA, your affiant has participated in numerous

narcotics investigations, debriefed or participated in debriefings of hundreds of

defendants, informants, and witnesses who had personal knowledge regarding narcotics

trafficking organizations, and has participated in all aspects of drug investigations

including conducting surveillance, analyzing information obtained from court-ordered

pen register and trap and trace intercepts, and analyzing telephone toll information

obtained as a result of the issuance of subpoenas. Your affiant is aware that drug

traffickers commonly use cellular telephones and pagers in furtherance of their drug

trafficking activities and frequently change cellular telephone numbers and cellular

telephones in an effort to thwart law enforcement's use of electronic surveillance. Your

affiant is also aware that drug traffickers often speak in vague, guarded, or coded

language when discussing their illegal business in an effort to further prevent detection.

Your affiant has participated in numerous drug related investigations, has worked

successfully with a number of informants, and has participated in the arrest and

prosecution of approximately 100 individuals.

THE TARGET LOCATION

       5.      The following property is sought to be searched for contraband such as

narcotics and firearms, as well as property designed or intended for use or which is or has

been used as the means of committing a crime, evidence of commission of a crime, fruits

of a crime, or items unlawfully possessed:

       2469 :'J orth Garnet Street, Philadelphia, PA (a two-story property which

includes on the first floor Cumberland Coffee and Donut Shop). This location appears to

be open to the public during regular business hours.




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THE INVESTIGATION AND INDICTME:'.'iT

       6.      As outlined below, your affiant has been investigating the drug trafficking

activities of Louis ALEXANDER ("ALEXANDER''), Michael ALEXANDER

("MICHAEL ALEXA~DER"), Carla YOlJNG ("YOUNG"), Terron HOLMA~

("HOLMAN"), Angel CARTER ("CARTER"), Martin BONAPARTE

("BONAPARTE"), and others, since March, 2016. Your affiant's investigation of the

Louis ALEXANDER heroin distribution organization has identified Louis

ALEXANDER as the likely source of heroin supply to the organization. The

investigation, which included court-authorized intercepts over target phones for

CARTER, HOLMAN, :vtICHAEL ALEXANDER and LOUIS ALEXANDER, also

identified other street-level distributors who work on behalf of and with Louis

ALEXANDER, as well as a number of principal customers of the organization who

purchase approximately multiple ounces of heroin per week

       7.      On February 13, 2019, the federal grand jury in the Eastern District of

Pennsylvania returned a 4ulti-count indictment charging :'.'v1ICHAEL ALEXA~DER,

BONAPARTE, HOLMAN, CARTER and YOUNG with conspiracy to distribute

controlled substances, multiple substantive drug distribution charges (as to everyone

except YOUNG) and firearms violations (as to :'.'vIICHAEL ALEXANDER). Federal

arrest warrants for each of these individuals were issued in connection with the return of

the indictment. The indictment was placed under seal pending arrests.      The

investigation, and resulting indictment, established that beginning on or about March

2016 and continuing through at least March, 2018, DEA agents arranged for two

confidential sources to conduct multiple purchases of street-level quantities of heroin,




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fentanyl and other substances from MICHAEL ALEXANDER, HOLMAN,

BONAPARTE and CARTER. These transactions occurred with each of these

individuals, and sometimes involved targets entering and returning from the subject

premises, after which the drug transaction took place. Agents believed that these targets

retrieved stored controlled substances inside the subject premises, to sell to the

confidential sources.   These alleged controlled substances were tested by the

Philadelphia Police Department Forensic Lab, and determined to be heroin, fentanyl and

other substances.

          8.   As set forth below, there is probable cause to believe that within the

subject location there is evidence of the commission by MICHAEL ALEXANDER,

Terron HOLMAN, Martin BONAPARTE, Angel CARTER and others identified below

of the following crimes: the possession with intent to distribute and the distribution of

controlled substances, including heroin, in violation of (a) conspiracy to distribute

controlled substances, in violation ofTitle 21, United States Code, Section 846; (b)

distribution of controlled substances, in violation of Title 21, Cnited States Code, Section

841(a)(I); (c) use of a communication facility in furtherance of and to facilitate the

distribution of controlled substances, in violation of Title 21, United States Code, Section

843(b).

EXECUTION OF SEARCH WARRA.~T AT THE St:BJECT LOCATION ON
APRIL 4, 2018

          9.   On April 4, 2018, a federal search warrant issued by a U.S. Magistrate

Judge, EDPA, was executed on the Cumberland Coffee and Donut Shop, at 2469 ~-

Garnet Street, Philadelphia, PA. During the execution of the search warrant, agents

seized multiple bundles of clear zipl,0ck packets with glassine inserts containing an off-



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white powder, later tested and determined to be heroin, fentanyl, cocaine and cocaine

base, digital scales, a grinder (used to process controlled substances), numerous small

clear plastic packaging baggies (used to package controlled substances), numerous

glassine packaging materials, sandwich bags and baggies (all used commonly to package

controlled substances), multiple cellular telephones and a firearms box. No arrests

occurred on that date.

EXECUTION OF ARREST WARRANTS ON MARCH 5, 2019

        10.    On March 5, 2019, DEA agents executed an arrest warrant for MICHAEL

ALEXANDER (Anthony Michael Alexander) at the subject premises, Cumberland

Coffee and Donut Shop, after observing him (via pole cam) opening the roll gate of the

premises and entering the premises with a key around 9:20A.i\1. Via pole cam, your

affiant observed MICHAEL ALEXANDER momentarily exit and re-enter the premises,

standing outside momentarily.

        11.    At approximately 9:30 AM, DEA agents entered the premises to execute

the arrest warrant on MICHAEL ALEXA~DER. Agents observed MICHAEL

ALEXAI\'DER in the downstairs store area, and detained him. Based in part on their

awareness of a second floor of the premises, that other individuals could have access to

that second floor (which, upon execution of the search warrant on April 4, 2018, agents

found the second floor contained a bed and what appeared to be an office with computers

and other items indicating occupancy and use of that second floor area), other agents

conducted a protective sweep of the entire premises to ensure their safety and determine

if any other individuals were inside and upstairs in the premises.

       12.     In the second floor area of the subject premises, agents observed in plain




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view the following: Bulk quantities of suspected heroin (tan powdery and white powdery

substances), numerous packaging materials, including plastic bags, red flip top containers

(commonly used to package and distribute crack cocaine), blue wax glassine envelopes

(typically used to package and distribute street-level quantities of heroin), and a digital

scale (used to weigh controlled substances) and a stamper with a picture of s spider

(stampers are used typically to brand street-level quantities of heroin in bags).

INFOR.1\1:ATIO:'l REGARDING EVIDENCE LIKELY TO BE SEIZED

        I 3.   Based on my training and experience, I am aware that drug traffickers

often use multiple cellphones and maintain books, records, receipts, notes, ledgers,

passports, airline tickets, money orders and/or other papers relating to their travel and

transportation, ordering, sale and distribution of drugs; that drug traffickers commonly

front (provide drugs on consignment) drugs to their clients; that the aforementioned

cellphones, books, records, ledgers, etc. are maintained where the drug traffickers have

ready access to them including their residences and vehicles they are using to conduct

their drug trafficking business. Further, I know that indicia of occupancy, residency and

ownership of premises, including but not limited to utility and telephone bills, canceled

envelopes, rental, purchase or lease agreements, identification documents and keys are

often maintained at such drug trafficking locations.

        14.    Based on my training and experience, I am aware that drug traffickers

frequently possess firearms and other weapons at the premises where they conduct drug

trafficking or in vehicles used to conduct drug transactions. Persons who traffic in drugs

often maintain at their residences and other locations where they conduct drug trafficking

activities unsold or undistributed supplies of controlled substances and other drugs, as




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well as the drug paraphernalia including chemical dilutants, weighing scales, mixing

bowls, glassine bags, spoons, which are utilized in the weighing and packaging of

controlled substances needed to be used to break down drugs into smaller quantities for

distribution.

        15.     I am also aware through my training and experience that drug traffickers

often store large amounts of money they have amassed through their narcotics trafficking

activities at their residences or residences owned/rented by family members or girlfriends

or in the vehicles they are using for drug trafficking activities. In addition, I am aware

based on my training and experience that drug traffickers also store large amounts of

money that they have amassed in their narcotics trafficking activities at certain residences

they believe are not known to law enforcement in order to avoid the money being seized

by law enforcement.

        16.     Based on my training and experience, I know that individuals involved in

drug trafficking often use multiple cellphones, including but not limited to blackberries,

smart phones or PDAs to store the telephone numbers for their drug trafficking

associates. I am aware that those involved with drug trafficking often keep old

cellphones at their residences to allow the individuals to restore contacts into newer

cellphones.

        17.     Based on my training and experience and the training and experience of

other agents, I know that individuals involved in drug trafficking often maintain more

than one phone or more than one SIM card device, in order to have multiple avenues to

facilitate drug trafficking activities, and in an attempt to avoid detection by law

enforcement. I am aware that individuals involved in drug trafficking often times utilize




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pre-paid cellular telephones which do not maintain specific subscriber information,

and/or use phones subscribed to in the name of third person, in order to mask their direct

linkage to telephones utilized in furtherance of drug trafficking activities. Further, those

involved in drug trafficking often change SIM cards in order to make it difficult for law

enforcement to determine their records. Based on my training and experience, as well as

the training and experience of other agents, I know that individuals involved in drug

trafficking also frequently switch telephone numbers and/or phones. Despite the constant

switching of active telephone numbers, drug traffickers often keep old phones.

        18.     Based on my training and experience, I know that drug traffickers

commonly utilize their cellular telephones to communicate with co-conspirators to

facilitate, plan, and execute their drug transactions. For example, I know that drug

traffickers often store contacts lists, address books, calendars, photographs, videos, and

audio files, text messages, call logs, and voice mails in their electronic devices, such as

cellular telephones, to be used in furtherance of their drug trafficking activities.

        19.    Specifically, I know that those involved in drug trafficking communicate

with associates using cellular telephones to make telephone calls. If they are unable to

reach the party called, they frequently leave voice mail messages. I am aware that Apple-

based and Android-based phones download voice mail messages and store them on the

phone itself so that there is no need for the user to call in to a number at a remote location

and listen to the message. In addition, I know those involved in drug trafficking

communicate with associates using cellular telephones and tablets to send e-mails and

text messages and communicate via social media networking sites. By analyzing call and

text communications, I may be able to determine the identity of co-conspirators and




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associated telephone numbers, as well as if there were communications between

associates during the commission of the crimes.

        20.     Furthermore, cellular telephones also contain address books with names,

addresses, photographs, and phone numbers of a person's regular contacts. I am aware

that drug traffickers frequently list drug associates in directories, often by nickname, to

avoid detection by others. Such directories as the ones likely contained in the seized

cellular telephones, are one of the few ways to verify the numbers (i.e., telephones,

pagers, etc.) being used by specific traffickers.

        21.     In addition, I know that those involved with drug trafficking often take

photographs or make videos of themselves and their co-conspirators and retain them on

their electronic devices such as cellular telephones. This evidence would show

associations between accomplices, i.e. photographs of accomplices and/or individuals

common to co-conspirators. I am also aware that drug traffickers often take photographs

or make videos of drugs and drug proceeds with their cellular telephones and tablets.

Based on my training and experience, those who commit these crimes often store these

items on their phones in order to show to associates, and/or to upload to social media.

        22.    Furthermore, based on my training and experience and the training and

experience of other agents, I know that drug traffickers often use a cellular phone's

Internet browser for web browsing activity related to their drug trafficking activities.

Specifically, drug traffickers may use an Internet search engine to explore where banks or

mail delivery services are located, or may use the Internet to make reservations for drug-

related travel. In addition, I know that drug traffickers also use their cellular telephone's

Internet browser to update their social networking sites in order to communicate with co-




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conspirators, and to display drugs and drug proceeds or to post photographs of locations

where they have tr~veled in furtherance of their drug trafficking activities.

       23.     In addition, drug traffickers sometimes use cellular telephones as

navigation devices, obtaining maps and directions to various locations in furtherance of

their drug trafficking activities. These electronic devices may also contain GPS

navigation capabilities and related stored information that could identify where these

devices were located.

       24.     Furthermore, based on my training and experience, forensic evidence

recovered from the review of a cellular telephone can also assist in establishing the

identity of the user of the device, how the device was used, the purpose of its use, and

when it was used. In particular, I am aware that cellular telephones are all identifiable by

unique numbers on each phone, including: serial numbers, international mobile

equipment identification numbers (IMEi) and/or electronic serial numbers (ESN). The

search of each phone helps determine the telephone number assigned to each device, thus

facilitating the identification of the phone as being used by members of the conspiracy.

In addition, I am aware that by using forensic tools, information/data that users have

deleted may still be able to be recovered from the device.

       25.     Based on the forgoing, I submit that there is probable cause to search the

properties identified above and more fully described in the Attachment A, for the items

listed on the Attachment B, copies of which are included here as attached, which

constitute evidence of the commission and/or proceeds of the following crimes: the

possession with intent to distribute and the distribution of controlled substances,

including cocaine, and/or heroin, in violation of (a) conspiracy to distribute controlled




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substances, in violation ofTitle 21, United States Code, Section 846; (b) distribution of

controlled substances, in violation of Title 21, United States Code, Section 84l(a)(l).




                                     j:i~~
                                      Giovanna Boisvert
                                      Special Agent
                                      Drug Enforcement Administration


Sworn to and sub~d
to before me this ay of Ylarch, 2019.



L~d-_
HONORABLE CAROL SANDRA MOORE WELLS
UNITED STATES YIAGISTRATE JUDGE
EASTERN DISTRICT OF PE:\'NSYLVA~IA




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                              ATTACHME~T A

2469 N. Garnet Street, Philadelphia, PA

2469 North Gamet Street, Philadelphia, PA is a two-story corner building, located on the south-
east corner, at the intersection of North Garnet and West Cumberland Streets, Philadelphia, PA.
The property includes on the first floor "Cumberland Coffee and Donut Shop." The subject
premises is a tan stucco building with a corner door entry, flanked by a window on each side of
the door. The windows and the door are all glass, but have roll cage covers that lock for
protection. The second level is also supported by a column in the middle of the corner door
entry, on the outside. The subject premises has a sign hanging on the West Cumberland Street
side of the building saying "Cumberland Coffee and Donuts." Over the air conditioner unit
imbedded in the wall on the West Cumberland facing fac;ade is a tan-sided jut-out with several
windows. Entrance is on the West Cumberland side of the building.
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                                      ATTACHMENT B

                                    Property to be Seized

I.   Controlled substances, drug paraphernalia, including but not limited to, chemical
     dilutants, weighing scales, mixing bowls, glassine bags, spoons, packaging materials,
     packing peanuts and shipping materials utilized in the weighing and packaging of
     controlled substances.

2.   Firearms and other weapons, and ammunition.

3.   Any and all United States currency, money counters and any item used in the counting of
     currency.

4.   Any and all cellular telephones and personal data assistants ("PDA 's").

5.   All the records, documents, and materials (including both originals and copies) described
     below, in whatever form/format and by whatever means such records, documents, and
     materials, their drafts, or their modifications may have been created or stored, including
     but not limited to any (a) handmade or written form, (b) photographic form (such as
     microfilm, microfiche, prints, slides, negatives, videotapes, motions pictures, or
     photocopies), and mechanical form (such as printing or typing), and (c) electrical,
     electronic, or magnetic form (such as tape recordings, cassettes, compact discs, or any
     information on an electronic or magnetic storage device, such as floppy diskettes, hard
     disks, backup tapes, CD-RO~s, DVDs, optical discs, printer buffers, smart cards,
     computers, cellular telephones, memory calculators, electronic dialers, Bernoulli drives,
     or electronic notebooks, as well as printouts or readouts from any such storage device):

     a.      Books, records, receipts, notes, ledgers, or electronic data relating in any way to
             the receipt, storage, transportation, ordering, tracking, purchases/sales and
             distribution of controlled substances;

     b.      Any and all identification records and documents, including but not limited to
             birth certificates, state identification cards, social security cards, and driver's
             licenses.

     c.      Any and all banking and other financial transaction records, including but not
             limited to monthly savings and checking statements, canceled checks and banking
             communications, deposit tickets, withdrawal receipts, certificates of deposits,
             pass-books, money drafts, money orders (blank or endorsed), check cashing logs,
             gambling records and receipts, wire transfer logs, cashier's checks, bank checks,
             money orders, safe deposit box keys, safes, money wrappers and wire transfers.

     d.      Indicia of occupancy, residency, and ownership or use of the subject premises,
             including, but not limited to, utility and telephone bills, cancelled envelopes,
             rental, purchase or lease agreements, identification documents and keys.
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       e.      Address and/or telephone books, rolodex indicia, electronic organizers, telephone
               paging devices and the memory thereof and any papers, records or electronic data
               reflecting names, addresses, telephone numbers, pager numbers of co-
               conspirators, sources of drug supply, drug customers.

       f.      Photographs of Louis ALEXANDER ("ALEXANDER"), Michael
               ALEXANDER ("MIKE"), Carla YOUNG ("YOL'NG"), Terron HOLMAN
               ("HOLMA:'.'I"), Angel CARTER ("CARTER"), Martin,BONAPARTE
               ("BO:'.'IAPARTE"); photographs of suspected controlled substances, cash,
               firearms.


All of which constitute fruits, evidence and/or instrumentalities of violations of Title 21, United
States Code, Sections 84l(a)(l), 843(b) and 846.
